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 5 Attorney for Defendant
   GUADALUPE GUTIERREZ
 6
 7                                 IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                            )    CASE NO. S-08-CR-292
                                                           )
11               Plaintiff,                                )    STIPULATION and ORDER
                                                           )    EXONERATING BOND
12    v.                                                   )
                                                           )    Judge: Hon. Lawrence K. Karlton
13    GUADALUPE GUTIERREZ,                                 )
                                                           )
14                                                         )
                 Defendant.                                )
15                                                         )
                                                           )
16
17          Defendant, GUADALUPE GUTIERREZ, through Christopher Haydn-Myer, attorney at law, and
18 the United States of America, through Assistant U.S. Attorney Jason Hitt, agree as follows:
19          Mr. GUTIERREZ was released on a $100,000.00 appearance bond secured by a deed of trust.
20 The bond was secured with real property located at 1556 Ironside Drive, Modesto, California. Mr.
21 GUTIERREZ has pled guilty, and he was sentenced.
22
            Accordingly, the surety for the defendant’s bail bond is entitled to the release of the home title,
23
     and it is respectfully requested that this Court direct the Clerk of the Court to reconvey title forthwith,
24
     and that the bond be exonerated.
25
     ///
26
     ///
27
     ///
28

                                                           1
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 1
     Dated: December 20, 2012
 2                                             Respectfully submitted,

 3                                             /s/ Christopher Haydn-Myer
                                               ________________________________
 4                                             CHRISTOPHER HAYDN-MYER
                                               Attorney for Defendant
 5                                             Guadalupe Gutierrez

 6
     DATED: December 20, 2012                         BENJAMIN B. WAGNER
 7                                             United States Attorney

 8                                             /S/ Christopher Haydn-Myer for
                                               Jason Hitt
 9                                             Assistant U.S. Attorney

10
11
                                            ORDER
12
13
            FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
14
15
     Dated: January 7, 2013
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                                              2
